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Levad, Andrew M.

From:                Reyes, Ricardo A.
Sent:                Friday, March 24, 2023 1:36 PM
To:                  Patton, Madeleine T.; Gosewehr, Katie
Cc:                  Levad, Andrew M.; Court Services; Roper, Joe; Sikes III, George W.
Subject:             RE: [0872056-00009] Trader Joe's Company v. DesertCart Trading FZE et al (Doc# 5, N.D. Cal. 3:23-
                     cv-01148)


Hello all, please see current update from our process server below and please advise.


[EXTERNALMESSAGE]

Goodafternoon,

Herearethefollowingreportsforeachaddress:

WewouldliketoserveRahulSwaminathanofDesertCartTradingFZEatthebelowaddresses.

        1. 301PlattBlvd,Claremont,CA–ThisisHarveyMuddCollege,ourserverwasabletoconfirmwithHRthat
            RahulSwaminathanisacurrentBioMedicalEngineeringstudentatthiscollegeandlivesoncampusbutthey
            wouldnotprovideuswithhisaddress.

        2. 1INDUSTRIALPARKDRUNIT9,PELHAM,NH,03076ͲThisisawarehouseaddresswithasmallofficeout
            front.Theofficeisemptyandtheneighborsaidnooneeverusesthatdoor.Thebacksidehasoldnotices
            up.ThereweresignsforPiffertInconlyͲIdon’tseeDesertcart.AGooglesearchshowsthisguyisinvolved
            inalotofscamswiththiscompany.

        3. 340SLEMONAVEAPT1038,WALNUT,CA91789Ͳ2706–ThisisapoboxlocationcalledVirtualPost
             Mail.Rahulorthecompanydoesnothaveaboxwiththem.
        
Pleaseadvise,thanks!

*************



Ricardo A. Reyes
O: +1-213-430-7736
rareyes@omm.com


From:Roper,Joe<jroper@omm.com>
Sent:Thursday,March23,20233:06PM
To:Patton,MadeleineT.<mpatton@omm.com>;SikesIII,GeorgeW.<gsikes@omm.com>;Gosewehr,Katie
<kgosewehr@omm.com>;Reyes,RicardoA.<rareyes@omm.com>
Cc:Levad,AndrewM.<alevad@omm.com>;CourtServices<ommsvc2@OMM.com>
Subject:RE:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.3:23ͲcvͲ01148)

Understood. This has been relayed. Thanks.

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JoeRoper
O:+1Ͳ213Ͳ430Ͳ6260
wroper@omm.com


From:Patton,MadeleineT.<mpatton@omm.com>
Sent:Thursday,March23,20232:59PM
To:SikesIII,GeorgeW.<gsikes@omm.com>;Gosewehr,Katie<kgosewehr@omm.com>;Reyes,RicardoA.
<rareyes@omm.com>
Cc:Levad,AndrewM.<alevad@omm.com>;CourtServices<ommsvc2@OMM.com>
Subject:RE:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.3:23ͲcvͲ01148)

Yes, only on Rahul Swaminathan.

Madeleine Patton
O: +1 415-984-8708
mpatton@omm.com


From:SikesIII,GeorgeW.<gsikes@omm.com>
Sent:Thursday,March23,20232:51PM
To:Patton,MadeleineT.<mpatton@omm.com>;Gosewehr,Katie<kgosewehr@omm.com>;Reyes,RicardoA.
<rareyes@omm.com>
Cc:Levad,AndrewM.<alevad@omm.com>;CourtServices<ommsvc2@OMM.com>;SikesIII,GeorgeW.
<gsikes@omm.com>
Subject:Re:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.3:23ͲcvͲ01148)

Seebelowandletusknow.

DoyoustillrequirepersonalserviceonlyonRahulSwaminathan?


         OnMar23,2023,at5:27PM,SikesIII,GeorgeW.<gsikes@omm.com>wrote:

         
         Thanks. I’ll relay this to our process serving vendor now.
          
         O’Melveny
         George W. Sikes, III
         Managing Clerk
         gsikes@omm.com
         O: +1-212-408-2423

         O’Melveny & Myers LLP
         Times Square Tower
         7 Times Square
         New York, NY 10036
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         Associate Program
         

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From:Patton,MadeleineT.<mpatton@omm.com>
Sent:Thursday,March23,20235:25PM
To:SikesIII,GeorgeW.<gsikes@omm.com>;Gosewehr,Katie<kgosewehr@omm.com>;Reyes,Ricardo
A.<rareyes@omm.com>
Cc:Levad,AndrewM.<alevad@omm.com>;CourtServices<ommsvc2@OMM.com>
Subject:RE:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.
3:23ͲcvͲ01148)

Hi George, 
 
We would like to serve Rahul Swaminathan of DesertCart Trading FZE at the below addresses. 
 
    1. 301 Platt Blvd, Claremont, CA 
    2. 1 INDUSTRIAL PARK DR UNIT 9, PELHAM, NH, 03076
    3. 340 S LEMON AVE APT 1038, WALNUT, CA 91789-2706 
 
Thanks,
Maddie 
 
Madeleine Patton
O: +1 415-984-8708
mpatton@omm.com
 
From:SikesIII,GeorgeW.<gsikes@omm.com>
Sent:Thursday,March23,20237:44AM
To:Gosewehr,Katie<kgosewehr@omm.com>;Reyes,RicardoA.<rareyes@omm.com>;Patton,
MadeleineT.<mpatton@omm.com>
Cc:Levad,AndrewM.<alevad@omm.com>;CourtServices<ommsvc2@OMM.com>;SikesIII,George
W.<gsikes@omm.com>
Subject:RE:[0872056Ͳ00009]TraderJoe'sCompanyv.DesertCartTradingFZEetal(Doc#5,N.D.Cal.
3:23ͲcvͲ01148)

Good morning,
 
Just checking back in regarding DesertCart.
 
Best,
George
 
O’Melveny
George W. Sikes, III
Managing Clerk
gsikes@omm.com
O: +1-212-408-2423

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